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                   IN THE UNITED STATES BANKRUPTCY COURT
           FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 In Re:                                                )     Case No.:      17-09513
                                                       )
           Pittsfield Development LLC,                 )     Chapter:       11
                                                       )
                   Debtor.                             )     Honorable Judge Jacqueline P. Cox

                                         NOTICE OF MOTION

To:       See attached service list.

         PLEASE TAKE NOTICE that on May 9, 2018 at 10:00 a.m., or as soon thereafter as
counsel may be heard, I shall appear before the Honorable Judge Jacqueline P. Cox or any Judge
sitting in her stead, in Courtroom 680 of the Everett M. Dirksen Courthouse for the United States
District Court for the Northern District of Illinois, Eastern Division, 219 S. Dearborn Street,
Chicago, Illinois 60604, and then and there present its MOTION TO WITHDRAW AS COUNSEL, a
true and accurate copy of which is attached hereto and hereby served upon you.

        To insure notice of any action in this case, Creditor, 55 EAST WASHINGTON
DEVELOPMENT LLC, an Illinois limited liability company, should retain other counsel herein
or file with the clerk of the court their supplementary appearances stating an address at
which service of notices or other papers may be had upon the Creditor.



Dated: April 23, 2018                         /s/ Allen R. Perl
                                              Allen R. Perl, ARDC No.: 6191920
                                              Vlad V. Chirica, ARDC No.: 6320436
                                              PERL & GOODSNYDER, LTD.
                                              Attorneys for 55 East Washington Development LLC
                                              14 North Peoria Street, Suite 2C
                                              Chicago, Illinois 60607
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                                              vchirica@perlandgoodsnyder.com
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                                CERTIFICATE OF SERVICE

TO:    See attached Service List.

        I, an attorney under oath, hereby certify under penalties as provided by law pursuant to §1-
109 of the Illinois Code of Civil Procedure, that I caused the following documents:

       (1)     Notice of Motion
       (2)     Certificate of Service
       (3)     Motion to Withdraw as Counsel

       to be sent to each attorney to whom directed at their respective addresses:

   X   Via the United States Bankruptcy Court for the Northern District of Illinois’s
       CM/ECF System, by electronically filing the same 23rd day of April, 2018 and causing it
       to be electronically served to all parties of record;

         and to the Creditor, 55 EAST WASHINGTON DEVELOPMENT LLC, an Illinois limited
liability company, courtesy of its Registered Agent, LP Agents LLC, at 2 North LaSalle Street,
Suite 1300 in Chicago, Illinois 60602-3709:

   X   Via Certified U.S. Mail, by depositing the same in the U.S. Mail, postage prepaid, tracking
       number 9414 8108 9876 5009 9010 58, in a properly addressed, sealed and secure
       envelope, return receipt requested, signature requested, at 14 North Peoria Street, Suite 2-
       C, Chicago, Illinois 60607, before 4:00 P.M. on the 23rd day of April, 2018.



Dated: April 23, 2018                      /s/ Allen R. Perl
                                           Allen R. Perl, ARDC No.: 6191920
                                           Vlad V. Chirica, ARDC No.: 6320436
                                           PERL & GOODSNYDER, LTD.
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                                    SERVICE LIST

To:

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 Assigned: 04/04/2017




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                   IN THE UNITED STATES BANKRUPTCY COURT
           FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 In Re:                                               )     Case No.:         17-09513
                                                      )
           Pittsfield Development LLC,                )     Chapter:          11
                                                      )
                 Debtor.                              )     Honorable Judge Jacqueline P. Cox

                           MOTION TO WITHDRAW AS COUNSEL

          NOW COMES the attorneys and the law firm of PERL & GOODSNYDER, LTD. (hereinafter

collectively referred to as “Creditor’s Counsel”), and respectfully move this Honorable Court

pursuant to Local Rule 2091-1 for leave of court to withdraw their appearance filed on behalf of

Creditor, 55 EAST WASHINGTON DEVELOPMENT LLC (hereinafter referred to as the “55 EAST”), in

the bankruptcy case sub judice. In support thereof, Creditor’s Counsel states as follows:

          1.    On April 5, 2017, Creditor’s Counsel, by its attorneys Allen R. Perl and Vlad V.

Chirica, filed appearances in this case on behalf of 55 EAST. See [Dkt. 14][Dkt. 15]

          2.    Since appearing in the case at bar, Defendants’ Counsel acted diligently to protect

the interests of 55 EAST in this case and/or attempt to resolve the disputes with the Debtor.

          3.    Since the time Creditor’s Counsel initially filed their Appearances, a potential

conflict of interest may have arisen which may preclude Creditor’s Counsel from representing

55 EAST in this matter further.

          4.    Although 55 EAST has not been prejudiced as the potential conflict has only

recently arisen, Creditor’s Counsel wishes to withdraw in order to avoid any potential conflict.

          5.    Creditor, 55 EAST WASHINGTON DEVELOPMENT LLC’s last known address is 5500

West Howard Street in Skokie, Illinois 60077.

          6.    Creditor was served a copy of this motion and a notice of motion, in accordance

with Local Rule 2091-1
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       WHEREFORE, the attorneys and the law firm of PERL & GOODSNYDER, LTD. (heretofore

referred to as “Creditor’s Counsel”), respectfully requests that this Honorable Court enter an order

granting their Motion to Withdraw as Counsel for Defendants, 55 EAST WASHINGTON

DEVELOPMENT LLC, an Illinois limited liability company, grant Creditor, 55 EAST, twenty-one

(21) days from the entry of an order granting Creditor’s Counsel leave to withdraw to find

replacement counsel and stay all pending matters herein until such time that 55 EAST has obtained

substitute counsel to appear on 55 EAST’s behalf, and for such further and other relief as this Court

deems just and equitable.



Dated: April 23, 2018                      /s/ Allen R. Perl
                                           Allen R. Perl, ARDC No.: 6191920
                                           Vlad V. Chirica, ARDC No.: 6320436
                                           PERL & GOODSNYDER, LTD.
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